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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE
                                         3:17-CV-448-JHM
                              CASE NO. ________________
                                  Electronically Filed


The Estate of Esther Jane Cecil,
by and through the co-executors of her estate,
Anthony Dominic Cecil, III and Terrance Wayne Cecil                                 Plaintiffs

v.

GGNSC Louisville Hillcreek, LLC
d/b/a Golden LivingCenter - Hillcreek                                             Defendant

                                  NOTICE OF REMOVAL

        Defendant, GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter - Hillcreek

(hereinafter “GLC-Hillcreek”), hereby removes to the United States District Court for the

Western District of Kentucky, at Louisville, the action captioned The Estate of Esther Jane

Cecil, by and through the co-executors of her estate, Anthony Dominic Cecil, III and Terrance

Wayne Cecil v. GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter – Hillcreek., Case

No. 17-CI-03389, which is currently pending in Jefferson Circuit Court, in the Commonwealth

of Kentucky. As grounds for its removal of the Action, GLC-Hillcreek states:

        1.    On June 28, 2017, the Estate of Esther Jane Cecil, by and through the co-

executors of her estate, Anthony Dominic Cecil, III and Terrance Wayne Cecil (“Plaintiffs”)

filed a Complaint in Jefferson Circuit Court, Case No. 17-CI-03389. GLC-Hillcreek was served

with a summons and a copy of a Complaint on July 7, 2017, through its agent for service of

process, Corporation Service Company. Copies of all process and pleadings in said action are

attached hereto in accordance with 28 U.S.C. 1446(a).




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        2.     Plaintiffs are and were at all times relevant hereto, including at the time of filing

this Notice of Removal and at the commencement of Civil Action No. 17-CI-03389, citizens of

the Commonwealth of Kentucky.

        3.     GLC-Hillcreek at all times relevant hereto, including at the time of filing this

Notice of Removal and at the commencement of Civil Action No. 17-CI-03389, was a Delaware

limited liability company, and none of its members are citizens of Kentucky. More specifically,

the sole member of GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter – Hillcreek is

GGNSC Equity Holdings, LLC. The sole member of GGNSC Equity Holdings, LLC is Golden

Gate National Senior Care, LLC. The sole member of Golden Gate National Senior Care, LLC is

GGNSC Holdings, LLC. The sole member of GGNSC Holdings, LLC, is Drumm Corp. Drumm

Corp. is a Delaware corporation with its principal place of business in San Fransisco, CA.

Therefore, GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter – Hillcreek is a citizen

of Delaware and California.

        4.     This action is one over which this Court has original jurisdiction pursuant to the

provisions of 28 U.S.C. 1332(a)(1), and is one that may be removed to this Court pursuant to 28

U.S.C. 1441(a). This is an action between citizens of different states.

        5.     Based upon admissions in the Complaint attached hereto, Plaintiffs seeks in

excess of the minimal jurisdiction limit of this court in damages, exclusive of interest and costs.

The Complaint alleges that Esther Jane Cecil suffered a fall and serious bodily injuries, in whole

or in part, by Defendant. Moreover, the Complaint alleges that Ms. Cecil suffered mental injuries

and suffering, pain and mental anguish, incurred medical expenses, and seeks compensatory

damages, plus costs and fees to which Plaintiffs are entitled by law.




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          7.   This Notice of Removal is filed within thirty (30) days after GLC- Hillcreek

received a copy of Plaintiff’s Complaint on July 7, 2017, as required by 28 U.S.C. 1446(b).

          8.   A copy of this Notice of Removal will simultaneously be filed with the Clerk for

the Jefferson Circuit Court, in the Commonwealth of Kentucky and served upon counsel of

record.

                                            Respectfully submitted,

                                            WILSON, ELSER, MOSKOWITZ, EDELMAN
                                            & DICKER, LLP

                                            /s/ Marcia L. Pearson
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 27, 2017, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system, which will send a notice of electronic filing to the
following:

Marcia L. Pearson
Stephanie M. Carr
Edward M. O’Brien

And that a copy of the foregoing was served via first class U.S. Mail, postage prepaid, on the
following:

Charles W. Miller
Rheanne Dodson Falkner
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Counsel for Plaintiffs

                                             //s/ Marcia L. Pearson
                                             Counsel for Defendant




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